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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


 BRUCE WRIGHT, JORGE
 VALDES and EDWIN DIAZ,
 individually and on behalf of all
 others similarly situated,

                   Plaintiffs,

 v.                                          Case No: 6:18-cv-1851-PGB-EJK

 EXP REALTY, LLC,

                   Defendant.
                                     /

                                     ORDER

       This cause comes before the Court on the parties’ Joint Motion for

 Preliminary Approval of Class Action Settlement (Doc. 208 (the “Motion”)) and

 the parties Notice of Amended Class Action Settlement Agreement (Doc. 211). The

 Court has reviewed the Motion, including the Amended Class Action Settlement

 Agreement (Doc. 211-1 (the “Settlement Agreement”)) between Plaintiff Edwin

 Diaz, individually, and as representative of the Class, and Defendant EXP Realty,

 LLC. Based on this review and the findings below, the Motion is due to be

 GRANTED.

       It is ORDERED AND ADJUDGED as follows:

 1.    The Court has conducted a preliminary assessment of the fairness,

       reasonableness, and adequacy of the Settlement Agreement and hereby
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       FINDS that the settlement falls within the range of reasonableness meriting

       possible final approval.

 2.    The Court hereby PRELIMINARILY APPROVES the Settlement

       Agreement (Doc. 211-1) and the terms and conditions of settlement set forth

       therein, subject to the terms of this Order and further consideration at the

       Final Approval Hearing.

 3.    The Court FINDS the Notice, Summary Notice and Claim Form (Doc. 211-

       1, pp. 43–57), and their manner of transmission, comply with Rule 23 and

       due process because the notices and forms are reasonably calculated to

       adequately apprise class members of (i) the pending lawsuit, (ii) the

       proposed settlement, and (iii) their rights, including the right to either

       participate in the settlement, exclude themselves from the settlement, or

       object to the settlement.

       a.    Therefore, the Court hereby PRELIMINARILY APPROVES the

             Class Notice, Claim Form, and Summary Notice (Doc. 211-1, pp. 43–

             57).

       b.    The Court further FINDS that the Notice Plan described in the

             Settlement Agreement (Doc. 211-1, pp. 20–24) is the best practicable

             under the circumstances. The Notice Plan is reasonably calculated

             under the circumstances to inform the Class of the pendency of the

             Litigation, certification of a settlement class, the terms of the

             Settlement, Class Counsel’s fee application, the claim process, and



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             their rights to opt-out of the Class or object to the Settlement. The

             Notice and Notice Plan constitute sufficient notice to all persons

             entitled to notice such that they satisfy all applicable requirements of

             law, including, but not limited to, Federal Rule of Civil Procedure 23

             and the Constitution’s Due Process requirements.

 4.    The Court FINDS that the Class is the same class previously certified by this

       Court under Rule 23 (Docs. 174, 175) and shall remain certified for purposes

       of the Settlement. FED. R. CIV. P. 23.

 5.    Appointment of the Settlement Administrator and the Provision

       of Class Notice. KCC LLC is appointed as the Settlement Administrator.

       The Settlement Administrator will notify Class Members of the settlement

       in the manner specified in the Settlement Agreement and the Notice Plan

       described therein.

 6.    Claim for Settlement Award. To receive an award under the Settlement

       Agreement, Class Members must accurately complete and submit a Claim

       Form to the Settlement Administrator sixty (60) calendar days after the

       Notice Date, as specified in the Notice.

 7.    Objection to Settlement. Any Class Member who has not submitted a

       timely written exclusion request pursuant to Paragraph 9 below and who

       wishes to object to the fairness, reasonableness, or adequacy of the

       Settlement Agreement, the fees, costs, and expenses award must have their

       objection filed with the Court or mailed to the Clerk’s Office of the United



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       States District Court for the Middle District of Florida, George C. Young

       Federal Annex Courthouse, 401 West Central Boulevard, Orlando, Florida

       32801, by no later than the Opt-Out Deadline. Any objection regarding or

       related to the Agreement shall contain a caption or title that identifies it as

       “Objection to Class Settlement in Wright v. eXp Realty, LLC, No. 6:18-cv-

       01851-PGB-EJK” and also shall contain the following information: (i) the

       objector’s name, address, and telephone number; (ii) the name, address, and

       telephone number of any attorney for the objector with respect to the

       objection; (iii) the factual basis and legal grounds for the objection,

       including any documents sufficient to establish the basis for his or her

       standing as a Class Member, including the phone number(s) at which he or

       she received call(s) covered by this Settlement; and (iv) identification of the

       case name, case number, and court for any prior class action lawsuit in which

       the objector and the objector’s attorney (if applicable) has objected to a

       proposed class action settlement. If an objecting party chooses to appear at

       the hearing, no later than the Opt-Out Deadline, a notice of intention to

       appear, either in person or through an attorney, must be filed with the Court

       and list the name, address, and telephone number of the person and

       attorney, if any, who will appear. A Class Member who appears at the Final

       Approval Hearing, either personally or through counsel, may be permitted

       to argue only those matters that were set forth in the timely and validly

       submitted written objection filed by such Class Member. No Class Member



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       shall be permitted to raise matters at the Final Approval Hearing that the

       Class Member could have raised in his/her written objection, but failed to

       do so, and all objections to the Settlement Agreement that are not set forth

       in a timely and validly submitted written objection will be deemed waived.

 8.    Failure to Object to Settlement. Class Members who fail to object to the

       Settlement Agreement in the manner specified above will: (1) be deemed to

       have waived their right to object to the Settlement Agreement; (2) be

       foreclosed from objecting (whether by a subsequent objection, intervention,

       appeal, or any other process) to the Settlement Agreement; and (3) not be

       entitled to speak at the Final Approval Hearing.

 9.    Requesting Exclusion. Class Members may elect not to be part of the

       Class and not to be bound by this Settlement Agreement. Any Class Member

       who does not wish to participate in this Settlement must write to the

       Settlement Administrator stating an intention to be “excluded” from this

       Settlement. This written request for exclusion must be sent via first class

       United States mail to the Settlement Administrator at the address set forth

       in the Notice and postmarked no later than the Opt-Out Deadline. A request

       for exclusion must be signed by the Class Member, and must include the

       Class Member’s name, address, and the telephone number that allegedly

       received a call made by or on behalf of Defendant during the Settlement

       Class Period and must clearly state that the Person wishes to be excluded

       from the Litigation and the Agreement. A request for exclusion that does not



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       include all of this information, or that is sent to an address other than that

       designated in the Notice, or that is not postmarked within the time specified,

       shall be invalid, and the Person serving such a request shall be a member of

       the Class and shall be bound as a Class Member by the Court’s Orders in this

       Litigation and by this Agreement, if approved. The request for exclusion

       must be personally signed by the Class Member. So-called “mass” or “class”

       opt-outs shall not be allowed.

 10.   Certification. The Court maintains certification of the already certified

       Class (Docs. 174, 175), which is defined as a class of all regular users or

       subscribers to numbers assigned to wireless carriers to which a call was

       attempted by a real estate agent affiliated with Defendant, using a Mojo

       dialer or a Vulcan7 dialer, resulting in a disposition of “Drop Message” if

       using the Mojo dialer or a disposition of “Voicemail” if using the Vulcan7

       dialer, and for whom the lead source for the call is identified as either Mojo,

       Vulcan7, or Landvoice, from October 30, 2014 through September 29, 2021.

       Excluded from the Class are: (1) the Judge presiding over this action (or the

       Judge or Magistrate presiding over the action through which this matter is

       presented for settlement) and members of their families; (2) the Defendant,

       Defendant’s    respective   subsidiaries,   parent   companies,    successors,

       predecessors, and any entity in which the Defendant or its parents have a

       controlling interest and its current or former officers and directors; (3)

       persons who properly execute and file a timely request for exclusion from



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       the class; and (4) the legal representatives, successors or assigns of any such

       excluded person(s).

 11.   Appointment of Class Representative and Class Counsel. The Court

       maintains the appointment of Plaintiff Edwin Diaz as Representative

       Plaintiff for the Settlement, and the appointment of the law firm of Kaufman

       P.A. and the Law Offices of Stefan Coleman, P.A. as Class Counsel for the

       Settlement. Representative Plaintiff and Class Counsel must fairly and

       adequately protect the Settlement Class’s interests.

 12.   Stay of Other Proceedings. The Court hereby orders that any actions or

       proceedings in any court in the United States involving any Released Claims

       asserted by any Releasing Parties, except any matters necessary to

       implement, advance, or further the approval of the Settlement Agreement

       are stayed pending the Final Approval Hearing and issuance of any final

       order and judgment.

 13.   Termination. If the Settlement is terminated or fails to become effective

       for any reason except for bad faith action by the Settling Parties or their

       Counsel, the Settling Parties will be restored to their respective positions in

       the Litigation as of November 22, 2021. In such event, the terms and

       provisions of the Agreement will have no further force and effect with

       respect to the Settling Parties and will not be used in this Litigation or in any

       other proceeding for any purpose, and any Judgment or order entered by the




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       Court in accordance with the terms of this Agreement will be treated as

       vacated.

 14.   No Admissions. Nothing in this Order is, or may be construed as, an

       admission or concession on any point of fact or law by or against any Party.

 15.   Stay of Dates and Deadlines. All discovery and pretrial proceedings and

       deadlines are stayed and suspended until further notice from the Court,

       except for such actions as are necessary to implement the Settlement

       Agreement and this Order. Pending final determination of whether the

       Settlement should be approved, Representative Plaintiff, all persons in the

       Class, and persons purporting to act on their behalf are enjoined from

       commencing or prosecuting (either directly, representatively or in any other

       capacity) against any of the Released Parties any action or proceeding in any

       court, arbitration forum or tribunal asserting any of the Released Claims.

 16.   Modifications. Counsel for the Parties are hereby authorized to utilize all

       reasonable procedures in connection with the administration of the

       settlement which are not materially inconsistent with either this Order or

       the terms of the Agreement. The Parties may further modify the Settlement

       Agreement prior to the Final Approval Hearing so long as such modifications

       do not materially change the terms of the settlement provided therein. The

       Court may approve the Settlement Agreement with such nonmaterial

       modifications as may be agreed to by the Parties, if appropriate, without

       further notice to Class Members.



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 17.   Final Approval Hearing. On August 12, 2022, at 10:30 am, the Court

       will hold a Final Approval Hearing in Courtroom 4B of the George C. Young

       Federal Annex Courthouse, 401 West Central Boulevard, Orlando, Florida

       32801, to hear any in-person objections from parties who gave the Court

       proper notice of their intent to appear in the manner specified and to

       determine whether the Settlement Agreement should be finally approved as

       fair, reasonable, and adequate. Plaintiff’s and Class Counsel’s motion for

       attorneys’ fees and expenses for Class Counsel shall be filed thirty-five

       (35) calendar days before the Final Approval Hearing. Plaintiff’s motion

       in support of the Final Judgment shall be filed fifteen (15) calendar days

       before the Final Approval Hearing. This Court may order the Final Approval

       Hearing to be postponed, adjourned, continued, or set for remote

       appearances. If that occurs, the updated hearing date or location shall be

       posted on the Class Settlement Website, but other than the website posting,

       the Parties will not be required to provide any additional notice to Class

       Members.




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